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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

    PINK FLOYD (1987) LIMITED,
                                                               Case No. 1:19-cv-04276
            Plaintiff,
                                                               Judge Virginia M. Kendall
    v.
                                                               Magistrate Judge Young B. Kim
   THE PARTNERSHIPS AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

            Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  57                                    digital-n-shop


DATED: August 21, 2019                                Respectfully submitted,

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt (Bar No. 6207971)
                                                      Keith Vogt, Ltd.
                                                      1033 South Blvd., Suite 200
                                                      Oak Park, Illinois 60302
                                                      Telephone: 708-203-4787
                                                      E-mail: keith@vogtip.com

                                                      ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-04276 Document #: 46 Filed: 08/21/19 Page 2 of 2 PageID #:3494




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 21, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
